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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

KENT PRUETT,                                   )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )           Case No. 2:13-cv-02905-JTF
                                               )
SHELBY COUNTY BOARD of                         )
EDUCATION, and                                 )
DORSEY E. HOPSON, II,                          )
in his official capacity as Superintendent     )
of the Shelby County Schools,                  )
                                               )
       Defendants.                             )

                    ORDER RE-OPENING CASE AND TO SHOW CAUSE


       On April 3, 2014, the Court entered a Consent Order and Judgment (ECF No. 21), and an

Order Administratively Closing Case (ECF No. 22), in this action styled as Pruett v. Shelby County

Board of Education, et al. In the Consent Order and Judgment and the Order Administratively

Closing Case, the Court retained jurisdiction solely to enforce the terms of the Consent Order and

Judgment and any other orders of the Court subsequent to the judgment. (ECF Nos. 21 & 22.)

The Consent Order and Judgment further indicated that “Plaintiff’s claim for costs, including

reasonable attorney fees and allowable expenses, will be determined by decision of the Court upon

motion.” (ECF No. 21, 2.)

       On May 5, 2014, the Court entered an Order Denying Defendants’ Motion for Leave to

Depose Plaintiff’s Counsel and Denying Leave to Request Documents and Granting an Extension

to Respond to Plaintiff’s Motion for Attorneys’ Fees. (ECF No. 32.) On September 29, 2014, the

Court entered an Order Granting in Part and Denying in Part Plaintiff’s Motion for Attorneys’
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Fees. (ECF No. 36.)

       The Parties are ORDERED to show cause why the Court should not close this case. The

Parties have until the end of business on November 6, 2020 to respond.



       IT IS SO ORDERED this 27th day of October, 2020.



                                                          s/John T. Fowlkes, Jr.
                                                          JOHN T. FOWLKES, JR.
                                                          United States District Judge
